Case 1:17-cr-00008-WJM Document 185 Filed 01/14/19 USDC Colorado Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

Date:             January 14, 2019
Courtroom Deputy: Anna Frank and Leigh Roberson
Court Reporter:   Mary George


 Criminal Action No. 17-cr-00008-WJM                  Counsel:

 UNITED STATES OF AMERICA,                            Jeremy Sibert
                                                      Robert Brown
       Plaintiff,

 v.

 GUY JEAN-PIERRE,                                     Thomas Goodreid
                                                      Clifford Barnard
       Defendant.


                         AMENDED COURTROOM MINUTES


Jury Trial: Day One

8:36 a.m.     Court in session. Prospective jurors not present.

Appearances. Defendant is present on bond. Also seated at Government’s counsel
table are Agent Kate Funk, FBI and Agent Jared Erwin, IRS. Seated at Government’s
rear table is Denise Touchton.

Court’s comments regarding parties’ proposed voir dire questions.

Court’s comments regarding trial protocol.

ORDERED: With the exception of expert witnesses, witnesses shall be excluded from
         the courtroom until called to testify pursuant to Rule 615, as stated on the
         record.

Discussion held regarding the Second Superseding Indictment.

ORDERED: Government’s Motion to Amend the Specific Dates Alleged in Counts 12-
         16 of the Second Superseding Indictment [ECF 172] is granted.
Case 1:17-cr-00008-WJM Document 185 Filed 01/14/19 USDC Colorado Page 2 of 4




Government moves orally to allow witness Cliffe Bodden to testify in civilian clothes.

ORDERED: The Government’s oral motion to allow witness Cliffe Bodden to testify in
         civilian clothes is granted.

Discussion held regarding witness order.



8:58 a.m.    Court in recess.
9:14 a.m.    Court in session. Jury panel present.

Court’s opening remarks to the venire.

Oath administered. Voir dire by the Court.

10:30 a.m.   Court in recess.
10:47 a.m.   Court in session. Jury panel present.

Continued voir dire by the Court.

12:14 p.m.   Court in recess.
1:30 p.m.    Court in session. Jury panel present.

Voir dire by Mr. Brown for the Government.

Voir dire by Mr. Goodreid for the Defendant.

Challenges for cause:
1. 100337135
2. 100369557
3. 100359401
4. 100363573
5. 100351569
6. 100331216
7. 100357186
8. 100356365
9. 100375239
10. 100347779
11. 100360252
12. 100342435
13. 100339171

Government’s challenges:
1. 100343784


                                         Page 2 of 4
Case 1:17-cr-00008-WJM Document 185 Filed 01/14/19 USDC Colorado Page 3 of 4




2.   100335929
3.   100364571
4.   100359628
5.   100330019
6.   100354396
7.   None

Defendant’s challenges:
1. 100334354
2. 100348294
3. 100342569
4. 100364668
5. 100342750
6. 100369763
7. 100366594
8. 100365539
9. 100357625
10. 100360774
11. 100365880

Jurors sworn to try case:
1. 100358208
2. 100345726
3. 100364907
4. 100341382
5. 100375790
6. 100372630
7. 100364313
8. 100349008
9. 100362524
10. 100351990
11. 100367300
12. 100332854
13. 100340051
14. 100340552

Court’s preliminary instructions to the jury.

3:02 p.m.     Court in recess.
3:28 p.m.     Court in session. Jury present.

Opening statement for the Government by Mr. Sibert.

Defendant reserves his opening statement.



                                           Page 3 of 4
Case 1:17-cr-00008-WJM Document 185 Filed 01/14/19 USDC Colorado Page 4 of 4




4:10 p.m.     Government’s witness William Sears called and sworn.

Direct examination of Mr. Sears by Mr. Sibert.

Government’s Exhibits 32, 33, 35, 36, 37, 92, 238, 235, 380, 381, 372b, 372d, 372h,
372i, 372j, 372k, 372L, 372m, 226, 382, 372q, 372t, 372u, 372cc, 40, 229, 372ii,
372mm, 254, 372oo, 372pp, 372rr, 372tt, 372yy, 396, 397, 372ggg, 372ppp, 158, 159,
160, 161, 162, 163, 164, 165, 166 admitted into evidence.

5:03 p.m.     Jury excused, to return at 8:35 a.m. on Tuesday, January 15, 2019.

Court’s remarks to witness regarding order of sequestration.

Discussion held regarding juror 100362524.

Discussion held regarding testimony of Mr. Sears.

5:23 p.m.     Court in recess.    Trial continued. Defendant continued on bond.

Total time in court: 6:32




                                        Page 4 of 4
